






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00711-CR






Brandon Curry, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT

NO. D-1-DC-06-205022, HONORABLE BRENDA KENNEDY, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		The district court revoked Brandon Curry's term of community supervision and
assessed a four-year prison term as punishment.  Curry and his trial counsel--as well as the attorney
for the State and the trial judge--signed Defendant's Plea of True, Voluntary Statements, Waivers,
Stipulations &amp; Judicial Confession to Pleadings Seeking Revocation or Adjudication in which Curry
expressly waived his right to appeal.  The trial court signed a certification that this is a plea bargain
case and Curry has no right of appeal.  Because the record does not contain a certification that Curry
has the right to appeal, we are required to dismiss this appeal.  See Tex. R. App. P. 25.2(d).


						                                                                                    

						G. Alan Waldrop, Justice

Before Justices Patterson, Waldrop and Henson

Dismissed

Filed:   February 6, 2009

Do Not Publish


